Case 2:12-cr-00012-PLM              ECF No. 276, PageID.989          Filed 05/22/13    Page 1 of 2




                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                       Plaintiff,                      Case No. 2:12-cr-12-08

v.                                                     HON. R. ALLAN EDGAR

ELLIOTT LEE PRESTON,

                  Defendant.
____________________________________/


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 22, 2013, after receiving the written consent of defendant and all counsel. At the

hearing, defendant ELLIOTT LEE PRESTON entered a plea of guilty to the one count Second

Superseding Felony Information, charging defendant with Conspiracy to Distribute and Possess with

Intent to Distribute 100 Grams or More of a Mixture or Substance Containing Heroin, in violation

of 21 U.S.C. § 846, 21 U.S.C. § 841(a)(1) and 21 U.S.C. § 841(b)(1)(B)(i), in exchange for the

undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find that defendant is fully capable and competent to enter an informed plea;

that the plea is made knowingly and with full understanding of each of the rights waived by

defendant; that it is made voluntarily and free from any force, threats, or promises, apart from the

promises in the plea agreement; that the defendant understands the nature of the charge and penalties

provided by law; and that the plea has a sufficient basis in fact.
Case 2:12-cr-00012-PLM           ECF No. 276, PageID.990            Filed 05/22/13      Page 2 of 2




               I therefore recommend that defendant's plea of guilty to the one count Second

Superseding Felony Information be accepted, that the court adjudicate defendant guilty, and that the

written plea agreement be considered for acceptance at the time of sentencing. It is further

recommended that defendant remain detained pending sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, determination of defendant's status pending

sentencing, and imposition of sentence are specifically reserved for the district judge.



Date: May 22, 2013                                     /s/ Timothy P. Greeley
                                                      TIMOTHY P. GREELEY
                                                      United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than fourteen days after the plea hearing. See
W.D. MICH . L.CR.R. 11.1(d).




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